                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No. 5:17-CR-134-BR




  UNITED STATES OF AMERICA

       v.                                                                ORDER

  XAVIER MILTON EARQUHART




       This matter is before the court on defendant’s various pro se motions, including ones for

appointment of new counsel. (DE ## 302, 305, 306, 308, 311, 313.)

       On 24 August 2020, the court held a hearing on defendant’s earlier pro se motions for

appointment of counsel and defense counsel’s motion to withdraw. The court denied those

motions and directed defendant, if he desires to proceed pro se at resentencing, to file a written

motion to that effect. (8/24/20 Order, DE # 298.) Defendant’s resentencing hearing is currently

set for 23 November 2020.

            The court has thoroughly considered defendant’s request for new counsel and declines

to disturb its earlier ruling. The court notes that in his most recent motion, as an alternative to

the appointment of new counsel, defendant states he “voluntarily relinquishes the right to

assistance of counsel[.]” (DE # 313, at 9.) If defendant seeks to proceed pro se at his

resentencing hearing, he must file an unqualified motion to that effect. Defendant’s motions, to

the extent he requests appointment of new counsel and reconsideration of the court’s 24 August

2020 order, are DENIED.




             Case 5:17-cr-00134-BR Document 314 Filed 11/03/20 Page 1 of 3
       To the extent defendant seeks other relief, his motions will likewise be denied. In his

motion filed 24 September 2020, defendant moves for a judgment of acquittal as to Counts 11

and 12 and an evidentiary hearing. (DE # 302.) As the court has previously recognized, “[s]uch

a motion must be filed, at the latest, 14 days after the court discharges the jury.” (6/16/20 Order,

DE # 285, at 4-5 (citing Fed. R. Crim. P. 29(c)(1)).) Defendant’s motion was filed well beyond

that time. Also, because this case is on remand from the Fourth Circuit Court of Appeals, the

mandate rule bars the court from considering this challenge. See United States v. Pileggi, 703

F.3d 675, 679 (4th Cir. 2013). Therefore, defendant’s motion for judgment of acquittal and an

evidentiary hearing, (DE # 302), is DENIED.

       In his motion filed 1 October 2020, defendant requests resentencing “solely based on

criminal history and jury verdict” and revision of his presentence report. (DE # 305, at 1.) In

another motion, defendant requests that his presentence report be revised according to the

sentencing guidelines in effect at the time the offenses were committed. (DE # 308.) In

resentencing defendant, the court intends to abide by the relevant law defendant cites, including

Apprendi v. New Jersey, 530 U.S. 466 (2000), and United States v. Booker, 543 U.S. 220

(2005), sentencing defendant within any statutory maximum authorized by the jury’s verdict and

treating the sentencing guidelines as advisory. Defendant pro se and his appointed counsel have

filed objections to the revised presentence report. (DE ## 240, 248.) The court will rule on

those objections at the resentencing hearing. The court will not rule on objections or order any

revision to the presentence report prior to that time. Accordingly, defendant’s motions regarding

his resentencing and the presentence report, (DE ## 305, 308), are DENIED.

       In his remaining motions, defendant seeks the dismissal of all counts, vacatur of the final

order of forfeiture, and return of any seized property. (DE ## 306, 311.) Once again, the



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          Case 5:17-cr-00134-BR Document 314 Filed 11/03/20 Page 2 of 3
mandate rule bars the court from considering defendant’s challenges to his conviction and the

final order of forfeiture, see Pileggi, 703 F.3d at 679, and these motions are DENIED.

       The Clerk is DIRECTED to serve a copy of this order on defendant.

       This 3 November 2020.




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                                                    W. Earl Britt
                                                    Senior U.S. District Judge




                                                3

          Case 5:17-cr-00134-BR Document 314 Filed 11/03/20 Page 3 of 3
